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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
_____________________________________
In the Matter of S.S. and A.S.,       )
                                      )
DORAN ANTHONY SATCHEL                 )
                                      )                       REQUEST FOR CERTIFICATE
                        Petitioner,   )                       OF DEFAULT
                                      )
vs.                                   )                       No. 1:25-cv-01309
                                      )
RENE ALEXIS KIZZI SATCHEL             )
                                      )
                        Respondent.   )
_____________________________________)


TO:    BRENNA B. MAHONEY
       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK


       Please enter the default of Respondent, Rene Alexis Kizzi Satchel, pursuant to Rule 55(a)

of the Federal Rules of Civil Procedure for failure to plead or otherwise defend this action as fully

appears from the court file herein and from the attached affirmation of Richard Min, Esq.



Dated: March 24, 2025


                                                      Respectfully submitted,

                                                      /s/ Richard Min
                                                      Richard Min, Esq.
                                                      Green Kaminer Min & Rockmore LLP
                                                      420 Lexington Avenue, Suite 2821
                                                      New York, New York 10170
                                                      Telephone: 212-681-6400
                                                      Facsimile: 212-681-6999
                                                      Email: rmin@gkmrlaw.com
